




Dismissed and Memorandum Opinion filed July 26, 2007








Dismissed
and Memorandum Opinion filed July 26, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00251-CV

____________

&nbsp;

CHERYL MILES,
Appellant

&nbsp;

V.

&nbsp;

WHITNEY NATIONAL BANK,
Appellee

&nbsp;



&nbsp;

On Appeal from the 129th District
Court

Harris County, Texas

Trial Court Cause No.
2006-45462

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

This
appeal is from a judgment signed February 20, 2007.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 








On June
21, 2007, notification was transmitted to all parties of the Court's intent to
dismiss the appeal for want of prosecution unless, within fifteen days,
appellant paid or made arrangements to pay for the record and provided this
court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant
filed no response.

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed July
26, 2007.

Panel consists of Justices Yates, Edelman, and
Seymore.

&nbsp;





